      Case 19-10662        Doc 15   Filed 07/15/19 Entered 07/15/19 10:20:20            Desc Notice of
                                        Hearing-BK Page 1 of 1
Form ntchrgbk

                                 UNITED STATES BANKRUPTCY COURT
                                       Northern District of Illinois
                                            Eastern Division
                                            219 S Dearborn
                                               7th Floor
                                           Chicago, IL 60604


                                    Bankruptcy Proceeding No.: 19−10662
                                                 Chapter: 7
                                          Judge: Jacqueline P. Cox

In Re:
   Fredricka D. Pryor
   7816 S. Damen
   Chicago, IL 60620
Social Security No.:
   xxx−xx−5784
Employer's Tax I.D. No.:


PLEASE TAKE NOTICE that a hearing will be held at:


                             219 South Dearborn, Courtroom 680, Chicago, IL 60604

                                       on August 21, 2019 at 10:00 AM


TO CONSIDER AND ACT UPON the following: motion to dismiss




                                                       For the Court,



Dated: July 16, 2019                                   Jeffrey P. Allsteadt , Clerk
                                                       United States Bankruptcy Court
